         Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 1 of 19 Page ID #:1




 1   CHRISTOPHER E. MARTIN (AZ Bar. No 018486)
     martinc@sec.gov
 2   SECURITIES AND EXCHANGE COMMISSION
     1961 Stout Street, Suite 1700
 3   Denver, Colorado 80294-1961
     Telephone: (303) 844-1000
 4   Facsimile: (303) 297-3529
 5   Local Counsel
 6   Charles E. Canter (Cal. Bar No. 263197)
     canterc@sec.gov
 7   SECURITIES AND EXCHANGE COMMISSION
     444 S. Flower Street, Suite 900
 8   Los Angeles, California 90071
 9   Telephone: (323) 965-3998
     Facsimile: (213) 443-1904
10
                               UNITED STATES DISTRICT COURT
11
                             CENTRAL DISTRICT OF CALIFORNIA
12
13
14     SECURITIES AND EXCHANGE                        Case No. 23-cv-06332
       COMMISSION,
15
                      Plaintiff,                      COMPLAINT AND JURY DEMAND
16
                v.
17
       ULRICH KRANZ and
18
       PAUL BALCIUNAS,
19
                      Defendants.
20
21
22         Plaintiff Securities and Exchange Commission (the “SEC”), for its Complaint

23   against Defendants Ulrich Kranz (“Kranz”) and Paul Balciunas (“Balciunas”)

24   (collectively “Defendants”), alleges as follows:

25                                  JURISDICTION AND VENUE

26         1.        The SEC brings this action pursuant to authority conferred on it by Section

27   20(b) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. § 77t(b)] and Sections

28   21(d) and 21(e) of the Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C.


                                              Complaint
         Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 2 of 19 Page ID #:2




 1   §§ 78u(d) and 78u(e)]. The Court has jurisdiction over this action pursuant to Sections
 2   20(b), 20(d), 20(e), and 22(a) of the Securities Act [15 U.S.C. §§ 77t(b), 77t(d), 77t(e),
 3   and 77v(a)] and Sections 21(d), 21(e), and 27(a) of the Exchange Act [15 U.S.C.
 4   §§ 78u(d), 78u(e), and 78aa(a)].
 5         2.     Defendants, directly or indirectly, made use of the means or instruments of
 6   transportation or communication in interstate commerce, the means or instrumentalities
 7   of interstate commerce, or of the mails, in connection with the acts, practices, and
 8   courses of business set forth in this Complaint.
 9         3.     Venue lies in this Court pursuant to Section 22(a) of the Securities Act [15
10   U.S.C. § 77v(a)] and Section 27(a) of the Exchange Act [15 U.S.C. § 78aa(a)].
11   Defendants reside in the Central District of California. Certain of the acts, practices,
12   transactions, and courses of business alleged in this Complaint also occurred within this
13   judicial district, including that Defendants worked for Canoo Inc. (“Canoo” or the
14   “Company”), which has its principal place of business within this judicial district in
15   Torrance, California.
16                                          SUMMARY
17         4.     This action involves improper conduct by defendants Ulrich Kranz, the
18   former Chief Executive Officer of Canoo, a company that designs and produces electric
19   vehicles (“EVs”), and Paul Balciunas, Canoo’s former Vice President of Corporate
20   Strategy and Chief Financial Officer. The Defendants’ improper conduct relates to
21   Canoo’s disclosure, proxy, and reporting failures concerning hundreds of millions of
22   dollars of unreasonable revenue projections, and with respect to Kranz specifically,
23   nearly $1 million of undisclosed executive compensation. These failures began while
24   Canoo was in the process of raising hundreds of millions of dollars from the investing
25   public as part of a December 2020 transaction whereby Canoo merged into another
26   company to become publicly traded.
27         5.     From August 2020 until March 2021, Canoo’s financial projections, which
28   it provided to investors and the SEC with both Kranz and Balciunas’s awareness,

                                             Complaint
         Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 3 of 19 Page ID #:3




 1   included projected revenue for providing engineering services to other companies of
 2   $120 million for 2021 and $250 million for 2022. Kranz and Balciunas should have
 3   known that these projections were unreasonable because they had information showing
 4   that significant projects on which Canoo based its 2021 and 2022 revenue projections
 5   were unlikely to materialize.
 6         6.     On March 29, 2021, approximately three months after successfully raising
 7   hundreds of millions of dollars from the investing public, under the direction of
 8   Canoo’s new Executive Chairman, Canoo announced that it would “deemphasize the
 9   originally stated contract engineering services line,” and removed its revenue
10   projections from its public filings. The day after Canoo announced it would not achieve
11   any of the projected engineering services revenue, Canoo’s stock price dramatically
12   decreased by approximately 21%.
13         7.     Additionally, in November 2019, Kranz entered into an agreement with
14   two individuals who were significant investors in Canoo to receive up to $1 million in
15   compensation related to his work at Canoo. In October 2020, Kranz received over
16   $900,000 from these two individuals. As CEO of Canoo, Kranz was required to disclose
17   compensation he received related to his work at Canoo. He failed to do so, which
18   caused Canoo to make inaccurate executive compensation disclosures from September
19   2020 until April 2021.
20         8.     By engaging in the conduct described in this Complaint, the Defendants
21   are liable as follows and unless enjoined are likely to continue to violate the federal
22   securities laws.
23                a. Kranz violated Section 17(a)(3) of the Securities Act [15 U.S.C. §
24                      77q(a)(3)] and Section 14(a) of the Exchange Act [15 U.S.C. § 78n(a)]
25                      and Rules 14a-3 and 14a-9 thereunder [17 C.F.R. §§ 240.14a-3 and
26                      240.14a-9], and aided and abetted Canoo’s violations of Section 13(a)
27                      of the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20, 13a-1,
28                      and 13a-11 thereunder [17 C.F.R. §§ 240.12b-20, 240.13a-1, and

                                              Complaint
         Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 4 of 19 Page ID #:4




 1                    240.13a-11].
 2                 b. Defendant Balciunas violated Section 14(a) of the Exchange Act [15
 3                    U.S.C. § 78n(a)] and Rule 14a-3 thereunder [17 C.F.R. § 240.14a-3]
 4                    and aided and abetted Canoo’s violations of Section 13(a) of the
 5                    Exchange Act [15 U.S.C. § 78m(a)] and Rule 13a-11 thereunder [17
 6                    C.F.R. § 240.13a-1].
 7           9.    The SEC seeks a final judgment: (a) permanently enjoining Defendants
 8   from violating the federal securities laws alleged in this Complaint; (b) ordering
 9   Balciunas to disgorge any ill-gotten gains he received, with prejudgment interest
10   thereon, pursuant to Exchange Act Sections 21(d)(5) and (d)(7) [15 U.S.C. §§ 78u(d)(5)
11   and 78u(d)(7)]; (c) ordering Kranz to pay civil money penalties pursuant to Section
12   20(d) of the Securities Act, [15 U.S.C. § 77t(d)], and ordering both Defendants to pay
13   civil money penalties pursuant Section 21(d)(3) of the Exchange Act, [15 U.S.C. §
14   78u(d)(3)]; (d) prohibiting both Defendants pursuant to the Court’s equitable authority
15   from acting as officers or directors of any issuer that has a class of securities registered
16   pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l] or that is required to file
17   reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)]; and (e)
18   ordering any other and further relief the Court may deem just and proper.
19                                        DEFENDANTS
20           10.   Ulrich Kranz resides in Manhattan Beach, California. Kranz was the CEO
21   of Canoo beginning in August 2019 and the “Special Advisor to the Executive
22   Chairman” of Canoo beginning in October 2020. He resigned from Canoo in April
23   2021.
24           11.   Paul Balciunas resides in Los Angeles, California. Balciunas was the Vice
25   President of Corporate Development and CFO of Canoo from July 2020 until he
26   resigned in March 2021.
27                                   RELEVANT ENTITIES
28           12.   Canoo Inc. is a Delaware corporation that designs and produces EVs. Its

                                             Complaint
         Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 5 of 19 Page ID #:5




 1   principal place of business is Torrance, California. Canoo registered its common stock
 2   with the SEC pursuant to Section 12(b) of the Exchange Act and the Nasdaq Global
 3   Security Market Company lists the Company’s stock under the ticker “GOEV.”
 4           13.     Canoo’s predecessor, the “SPAC Company” was a Delaware corporation
 5   and special purpose acquisition company (“SPAC”) that merged with Canoo on
 6   December 21, 2020, and thereafter ceased to exist independently. Until December 21,
 7   2020, the SPAC Company filed the SEC filings discussed in this Complaint. After that
 8   date, Canoo made the relevant SEC filings.
 9                                            FACTS
10      I.         Canoo Background and the SPAC Transaction
11           14.     Kranz and others founded Canoo as a private company in November 2017
12   for the purpose of developing and bringing to market EVs. Initially, three individuals
13   (the “Initial Owners”) funded the Company. Beginning in 2019, the Initial Owners
14   encouraged Canoo’s management to seek other funding sources, and management
15   engaged in several unsuccessful attempts to raise capital. By spring 2020, Canoo’s cash
16   on hand was low, and the Company entered into a low cash burn mode for several
17   months to preserve operating capital.
18           15.     In late June 2020, the SPAC Company and Canoo discussed a possible
19   deal to raise a substantial amount of capital for Canoo. The two parties signed an NDA
20   in early July 2020 and exchanged data and information. On July 17, 2020, the two
21   parties signed an exclusive letter of intent for Canoo to merge into the SPAC Company.
22   Canoo and the SPAC Company publicly announced the deal on August 18, 2020,
23   whereby the Company expected to receive approximately $629 million of gross
24   proceeds, with approximately $306 million of this amount coming from SPAC
25   Company investors and the remaining approximately $323 million coming from a fully
26   committed common stock transaction (a private investment in public equity, or “PIPE”,
27   transaction) from institutional investors.
28

                                             Complaint
         Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 6 of 19 Page ID #:6




 1            16.     Canoo completed the SPAC merger on December 21, 2020, and the next
 2   day began to trade on the Nasdaq Global Select Market under the ticker GOEV. On
 3   December 22, 2020, Canoo’s common stock price closed at $18.89 a share.
 4            17.      Canoo’s common stock presently trades for less than a dollar a share.
 5      II.         Canoo’s Engineering Services Pipeline and Projections
 6            18.     Between June and December 2020, Canoo developed a pipeline of
 7   potential engineering services projects for the company to pursue. The purpose of the
 8   pipeline was to identify third parties that Canoo could provide engineering services to
 9   and generate revenue from providing such services.
10            19.     Beginning in July 2020, Canoo began to project engineering services
11   revenue of $120 million in fiscal year 2021 and $250 million in fiscal year 2022. This
12   projected engineering services revenue represented 100% of Canoo’s total 2021
13   projected revenue and 75% of its total 2022 projected revenue.
14            20.     Certain internal Canoo documents and communications show that, by July
15   2020, Canoo’s revenue projections came almost exclusively from potential engineering
16   services partnerships with two third-party companies: a European carmaker and original
17   equipment manager (“European Auto OEM”), and a technology-focused company
18   (“Tech Strategic”).
19            21.     Canoo maintained an Excel spreadsheet titled “Canoo Operating Model,”
20   which included the Company’s financial forecasts. A version from early July 2020
21   included the 2021 $120 million projection—attributing $100 million to the European
22   Auto OEM and $20 million to Tech Strategic. It also included 2022 revenue projections
23   of $250 million, $230 million of which Canoo attributed to the European Auto OEM
24   and Tech Strategic collectively.
25            22.     Kranz and Balciunas were responsible for Canoo’s engineering services
26   “pipeline” of potential projects and associated revenue projections. Kranz was the
27   primary contact for several of Canoo’s potential revenue-generating business partners,
28

                                               Complaint
         Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 7 of 19 Page ID #:7




 1   and his expertise with those relationships (and in the auto industry in general) was key
 2   to the development of the pipeline.
 3         23.    By mid-August 2020, discussions with the European Auto OEM and Tech
 4   Strategic indicated that the projects were unlikely to produce revenue in 2021 and 2022.
 5   The European Auto OEM project (which in the Canoo Operating Model constituted
 6   $100 million of the 2021 revenue projections and $150 of the 2022 revenue projections)
 7   hit significant hurdles by July 2020, when the European Auto OEM told Canoo—in an
 8   email that Kranz and Balciunas received—that the work proposed was too costly and
 9   would be “barely acceptable” even if costs could be shared with other parties. Between
10   July and November 2020, the European Auto OEM continued to reject Canoo’s
11   proposals, and in November 2020 told Canoo a project was “unworkable.” Canoo and
12   the European Auto OEM never finalized an agreement.
13         24.    Kranz and Balciunas received notice of these developments in July 2020
14   through November 2020 either directly from the European Auto OEM, or in updates
15   from a junior Canoo employee.
16         25.    Also in August 2020, Tech Strategic informed Canoo—in a phone
17   conversation with Kranz and email sent to Balciunas—that the potential project would
18   be paused because the scope of the required work had expanded, Canoo’s proposal no
19   longer made sense, and Tech Strategic was considering other companies to partner with
20   to develop EVs. By October 2020, an internal Canoo tracking document showed the
21   Tech Strategic project was on “hold.”
22         26.    In early December 2020, Canoo paused or cancelled negotiations with
23   certain potential engineering services customers. Kranz and Balciunas were aware of
24   these decisions, having been included in relevant email conversations during early
25   December 2020.
26         27.    Although Canoo was in discussions with other companies about potential
27   engineering services projects in late 2020 and early 2021, none of the talks were in
28

                                             Complaint
         Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 8 of 19 Page ID #:8




 1   advanced stages. Kranz and Balciunas were aware of the status of Canoo’s potential
 2   engineering services projects during late 2020 and early 2021.
 3      III.     Canoo’s Misstatements Regarding Projected Revenue
 4         28.     During and after the time that Canoo’s discussions with possible
 5   engineering services customers broke down, which Kranz was directly aware of, Canoo
 6   made a number of false and misleading statements to investors projecting significant
 7   revenue for these future periods and emphasizing the revenue-generating potential of its
 8   engineering services model.
 9         29.     In the initial investor presentation that Canoo furnished to potential and
10   eventual investors and the SEC as an attachment to its Form 8-K filed on August 18,
11   2020 (the “August Presentation”), Canoo claimed that its engineering services model
12   was part of a “multi-phased approach to generate revenue” with the ability to generate
13   revenue “today.” Canoo stated that it had a “phased, de-risked go to market strategy
14   resulting in immediate revenues” and that engineering services would “generate
15   revenue that reduces the Company’s overall execution risk.”
16         30.     The August Presentation also stated that Canoo had “$120 million of
17   projected revenue in 2021” attributable to its engineering services projects. It
18   specifically called out—among others—“Delivery Contract Engineering” for the
19   “European Auto OEM” and “Contract Engineering & Vehicle Sales” for the “Tech
20   Strategic.”
21         31.     Kranz and Balciunas helped prepare and present the August Presentation.
22         32.     On September 18, 2020, SPAC Company filed a Form S-4 with the SEC
23   (the “Form S-4”) that included information about projected engineering services
24   revenue initially calculated in the July 2020 version of Canoo’s Operating Model—
25   information that Kranz, Balciunas, and others at Canoo provided. The Form S-4 stated
26   that Canoo’s current engineering services pipeline of projects was “supportive of a
27   projected $120 million of revenue in 2021,” and included a $250 million projection for
28   engineering services revenue in 2022.

                                             Complaint
         Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 9 of 19 Page ID #:9




 1         33.      The Form S-4 registered 190,000,000 shares of common stock to be sold
 2   “[a]s soon as practicable after this registration statement becomes effective and on
 3   completion of the business combination.”
 4         34.      Kranz and Balciunas were involved in preparing the July 2020 Canoo
 5   Operating Model that included information supporting the Form S-4’s statements about
 6   Canoo’s engineering services pipeline and revenue projections, knew that the SPAC
 7   Company was preparing, and ultimately filed, the Form S-4, and knew that the Form S-
 8   4 included statements regarding Canoo’s engineering services pipeline and revenue
 9   projections.
10         35.      Similar or identical statements regarding Canoo’s 2021 and 2022
11   engineering services revenues appeared in numerous other filings made with the SEC
12   and provided to the investing public. These filings include: October 23, 2020 and
13   November 25, 2020 amendments to the Form S-4, a September 24, 2020 Analyst Day
14   Presentation (attached to a Form 8-K), a December 4, 2020 prospectus, Canoo’s
15   January 13, 2021 Form S-1 (the “Form S-1”), and a January 25, 2021 prospectus.
16         36.      The Form S-1 registered 209,147,314 shares of common stock and
17   1,842,106 warrants to be sold “[f]rom time to time after the effective date of [the]
18   registration statement.”
19         37.      Kranz and Balciunas were involved in preparing the July 2020 Canoo
20   Operating Model that formed the basis for these SEC filings’ statements about Canoo’s
21   engineering services pipeline and revenue projections. Both knew that the SPAC
22   Company was preparing and ultimately filed with the SEC statements regarding
23   Canoo’s engineering services pipeline and revenue projections.
24         38.      Canoo did not update its projections in its SEC filings until March 2021,
25   when, in preparation for filing its first Form 10-K as a public company, Canoo removed
26   the engineering revenue projections from its public filings. In particular, on March 29,
27   2021, Canoo announced that it would “deemphasize the originally stated contract
28   engineering services line,” and removed its revenue projections from its public filings.

                                             Complaint
        Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 10 of 19 Page ID #:10




 1   The day after Canoo announced it would not achieve any of the projected engineering
 2   services revenue, Canoo’s stock price decreased by approximately 21%.
 3         39.     Each of these statements regarding revenue projections was false and
 4   misleading because, during and while Canoo made these statements, discussions with
 5   the two primary relationships driving these projections (the European Auto OEM and
 6   the Tech Strategic) indicated that the projects were unlikely to produce revenue in 2021
 7   and 2022.
 8         40.     Kranz and Balciunas knew or should have known that the statements were
 9   false. Given the status of the potential partnerships with the European Auto OEM and
10   Tech Strategic at the time Canoo made the statements, it was unreasonable for Kranz
11   and Balciunas to cause Canoo to project engineering services revenue of $120 million
12   for 2021 and $250 million for 2022. Both Kranz and Balciunas knew or should have
13   known that these two potential partnerships formed the basis for Canoo’s 2021 and
14   2022 revenue projections, and both Kranz and Balciunas knew or should have known of
15   the negative developments with the two potential partnerships that made the revenue
16   projections unreasonable.
17         41.     The statements regarding Canoo’s revenue projections were material to
18   investors who would want accurate revenue projections when making investment
19   decisions about Canoo.
20      IV.      Kranz’s Undisclosed Arrangement and Compensation
21         42.     On November 8, 2019, two of Canoo’s Initial Owners provided Kranz with
22   a signed agreement to pay him up to $1 million in exchange for his agreeing to remain
23   in his role at Canoo. One of the Initial Owners explained to Kranz, “[w]e will honor our
24   words to pay you” so that you “do your best in helping the company to complete the
25   SPAC deal.”
26         43.     Between October 22 and 29, 2020, the two Initial Owners wired Kranz
27   $915,048.
28

                                            Complaint
        Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 11 of 19 Page ID #:11




 1         44.    On September 6, 2020, Kranz signed a Directors’ and Executive Officers’
 2   Questionnaire (“Questionnaire”) in preparation for the SPAC Company’s filing its
 3   Form S-4. The Questionnaire represented, among other things that: (1) Kranz did not
 4   have any contract or other arrangement (whether written or unwritten) relating to his
 5   employment at Canoo or the SPAC Company; (2) his compensation, cash and non-cash,
 6   earned with respect to the last fiscal year was $722,771.95; and, (3) his only other
 7   compensation was the payment of life insurance premiums by Canoo or the SPAC
 8   Company and $36 from the Employee Assistance Program (his “Other Compensation”).
 9         45.    Kranz did not disclose the arrangement with the Initial Owners or the
10   payment from the Initial Owners on the Questionnaire (or through any other means) to
11   Canoo or the SPAC Company.
12         46.    Canoo’s Form S-4 and October 23 and November 25, 2020 amendments,
13   December 4, 2020 prospectus, Form S-1, and April 29, 2021 proxy filing listed Kranz’
14   compensation as $722,771.95 and also listed the Other Compensation.
15         47.    The statements about Kranz’s compensation were false and misleading.
16   Those filings did not disclose Kranz’s arrangement with Canoo’s two Initial Owners,
17   and, after the payments were received in October 2020, also did not disclose the
18   payments totaling $915,048.
19         48.    Kranz should have known that the statements about his executive
20   compensation in Canoo’s SEC filings were false and misleading. Kranz knew about his
21   arrangement with and payments from two of the Initial Owners and should have known
22   that Canoo would use the information about his compensation, including the
23   information requested in the Questionnaire, in its SEC filings. Kranz acted
24   unreasonably by not providing Canoo with the required information about the
25   arrangement and payments.
26         49.    Item 402 of Regulation S-K requires that public companies disclose certain
27   compensation information for named executive officers. Section (a)(2) provides:
28

                                            Complaint
        Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 12 of 19 Page ID #:12




 1           All compensation covered. This Item requires clear, concise and
             understandable disclosure of all plan and non-plan compensation awarded
 2
             to, earned by, or paid to the named executive officers … by any person for
 3           all services rendered in all capacities to the registrant and its subsidiaries,
             unless otherwise specifically excluded from disclosure in this Item.
 4
 5   The disclosure requirements of Regulation S-K apply to registration statements under
 6   the Securities Act and Exchange Act, annual and other reports, and “any other
 7   documents required to be filed under the Exchange Act, to the extent provide in the
 8   forms and rules under that Act.”
 9           50.     Canoo was required to disclose complete and accurate information
10   regarding Kranz’ executive compensation pursuant to Item 402 of Regulation S-K and
11   such information was material to investors who were making investment decisions
12   about Canoo. Reasonable investors would want to receive accurate information about a
13   CEO’s arrangements and payments related to the CEO’s employment at a public
14   company.
15      V.         Kranz Engaged in a “Practice or Course of Business” that Defrauded
                   Investors.
16
17           51.     Kranz engaged in a practice or course of business that defrauded investors
18   in connection with Canoo’s false and misleading statements regarding its projected
19   revenues and Kranz’s compensation.
20           52.     Kranz also engaged in conduct that operated as a fraud upon investors
21   when he failed to inform the SPAC Company that information in the Form S-4 was no
22   longer accurate.
23           53.     Pursuant to Section 7.01(d) of the merger agreement between Canoo and
24   the SPAC Company, Canoo was required to “promptly inform [SPAC Company]” of
25   any material fact included in the Form S-4 that was no longer accurate.
26           54.     Kranz, on behalf of pre-merger Canoo, signed the merger agreement.
27           55.     Kranz did not communicate the negative engineering services updates—
28   notably, the developments involving the European Auto OEM and the Tech Strategic—

                                               Complaint
        Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 13 of 19 Page ID #:13




 1   or their negative impact on Canoo’s projected 2021 and 2022 engineering services
 2   revenue to SPAC Company.
 3         56.     Kranz’s also did not disclose the arrangement with the Initial Owners or
 4   the payment from the Initial Owners on the Questionnaire or, through any other means.
 5         57.     Kranz was negligent in taking these actions.
 6      VI.      Kranz and Balciunas Violated Section 14(a) of the Exchange Act and
                 Rule 14a-3 Thereunder; Kranz Also Violated Rule 14a-9.
 7
 8         58.     Section 14(a) of the Exchange Act and its related rules govern disclosure in
 9   materials used to solicit shareholders’ votes in annual or special meetings held for the
10   election of directors and the approval of other corporate action. Exchange Act Rule 14a-
11   3 requires that each person solicited through a proxy solicitation must be provided with
12   certain statements and information. Exchange Act Rule 14a-9 prohibits the solicitation
13   of proxies by false or misleading statements.
14         59.     Kranz violated Section 14(a) and each of these rules in connection with
15   Canoo’s false and misleading statements regarding projected revenues in 2021 and
16   2022, identified above, and Canoo’s false and misleading statements regarding his
17   compensation, also identified above.
18         60.     As detailed above, Kranz’s actions violating these provisions include:
19   being involved in preparing the materials that supported false and misleading statements
20   in the SEC filings regarding Canoo’s engineering services pipeline and revenue
21   projections, preparing and presenting the August Presentation, and not disclosing, on
22   the Questionnaire or otherwise, the arrangement with the Initial Owners or the payment
23   from the Initial Owners.
24         61.     Kranz was negligent in taking these actions.
25         62.     As a result of his actions, Canoo made statements, identified above, in
26   materials used to solicit shareholders’ votes in annual or special meetings held for the
27   election of directors and the approval of other corporate action that failed to furnish the
28

                                             Complaint
        Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 14 of 19 Page ID #:14




 1   information required by Rule 14a-3 and that were false and misleading, in violation of
 2   Rule 14a-9.
 3         63.     Balciunas violated Section 14(a) and Rules 14a-3 in connection with
 4   Canoo’s false and misleading statements regarding projected revenues in 2021 and
 5   2022, identified above.
 6         64.     As detailed above, Balciunas’s actions violating these provisions include:
 7   helping prepare the materials that supported false and misleading statements in the SEC
 8   filings regarding Canoo’s engineering services pipeline and revenue projections and
 9   preparing and presenting the August Presentation.
10         65.     Balciunas was negligent in taking these actions.
11         66.     As a result of his actions, Canoo made statements, identified above, in
12   materials used to solicit shareholders’ votes in annual or special meetings held for the
13   election of directors and the approval of other corporate action that failed to furnish the
14   information required by Rule 14a-3.
15      VII. Kranz and Balciunas Aided and Abetted Canoo’s Violations of Section
             13(a) of the Exchange Act and Rule 13a-11 Thereunder; Kranz Also
16
             Aided and Abetted Canoo’s Violations of Rules 12b-20 and 13a-1.
17
           67.     Section 13(a) of the Exchange Act and Rules 13a-1 and 13a-11 thereunder
18
     require the periodic reporting of information by companies with publicly traded
19
     securities, such as Canoo. Public companies must file periodic reports with the SEC,
20
     including annual reports (pursuant to Rule 13a-1) and current reports including Forms
21
     8-K (pursuant to Rule 13a-11). Those reports must be factually accurate and not omit
22
     information that would otherwise make the information in the reports not misleading.
23
     Additionally, Exchange Act Rule 12b-20 provides that, in addition to the information
24
     expressly required to be included in a report, the company shall add such further
25
     material information as may be necessary to make the required statements, in light of
26
     the circumstances under which they are made, not misleading.
27
28

                                             Complaint
        Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 15 of 19 Page ID #:15




 1           68.   As alleged above, Canoo made multiple statements in annual and current
 2   reports that were false and misleading.
 3           69.   For the reasons detailed above, Kranz assisted Canoo’s false and
 4   misleading statements in current reports regarding projected revenues in 2021 and 2022,
 5   and Canoo’s false and misleading statements in Canoo’s 2021 annual report regarding
 6   his compensation. Among other things, Kranz helped prepare the July 2020 Canoo
 7   Operating Model that formed the basis for the false and misleading statements in the
 8   SEC filings regarding Canoo’s engineering services pipeline and revenue projections
 9   and did not disclose, on the Questionnaire or otherwise, the arrangement with the Initial
10   Owners or the payment from the Initial Owners on the Questionnaire.
11           70.   For the reasons detailed above, Balciunas assisted Canoo’s false and
12   misleading statements in current reports regarding projected revenues in 2021 and 2022.
13   Among other things, Balciunas helped prepare the July 2020 Canoo Operating Model
14   that formed the basis for the false and misleading statements in the SEC filings
15   regarding Canoo’s engineering services pipeline and revenue projections.
16      VIII. Balciunas Obtained Ill-Gotten Gains.
17           71.   Balciunas received a bonus of $7,500 in connection with the completion of
18   the merger between Canoo and the SPAC Company, which occurred on December 21,
19   2020.
20                                    CLAIMS FOR RELIEF
21                                         FIRST CLAIM
22        Violations of Section 17(a)(3) of the Securities Act [15 U.S.C. § 77q(a)(3)]
23                                             (Kranz)
24           72.   The SEC re-alleges and incorporates by reference paragraphs 1 through 71
25   as though fully set forth herein.
26           73.   Kranz has, by engaging in the conduct set forth above, directly or
27   indirectly, in the offer or sale of securities, by use of means or instrumentalities of
28   interstate commerce or of the mails, engaged in transactions, practices, or courses of

                                             Complaint
        Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 16 of 19 Page ID #:16




 1   business which operated or would operate as a fraud or deceit upon purchasers of
 2   securities.
 3          74.    By reason of the foregoing, Kranz violated, and, unless restrained and
 4   enjoined, will continue to violate, Section 17(a)(3) of the Securities Act.
 5                                        SECOND CLAIM
 6        Violations of Section 14(a) of the Exchange Act and Rules 14a-3 and 14a-9
           Thereunder [15 U.S.C. § 78n(a) and 17 C.F.R. §§ 240.14a-3, 240.14a-9]
 7
                                             (Kranz)
 8
           75.     The SEC re-alleges and incorporates by reference paragraphs 1 through 71
 9
     as though fully set forth herein.
10
           76.     As a result of the conduct alleged herein, Kranz directly or indirectly, by
11
     use of mails, or the means or instrumentalities of interstate commerce or any facility of
12
     a national securities exchange, solicited proxies without furnishing each person solicited
13
     a proxy statement containing the information specified by the proxy rules, and used
14
     proxy statements containing statements which, at the time and in light of the
15
     circumstances under which they are made, were false or misleading with respect to a
16
     material fact, or omitted to state material facts necessary to make the statement therein
17
     not misleading or necessary to correct any statement in any earlier communication with
18
     respect to the solicitation of a proxy for the same meeting or subject matter which has
19
     become false or misleading.
20
           77.     By reason of the foregoing, Kranz violated and, unless restrained and
21
     enjoined, will again violate Section 14(a) of the Exchange Act [15 U.S.C. § 78n(a)] and
22
     Rules 14a-3 and 14a-9 thereunder [17 C.F.R. §§ 240.14a-3, 240.14a-9].
23
                                          THIRD CLAIM
24
         Violations of Section 14(a) of the Exchange Act and Rule 14a-3 Thereunder
25                      [15 U.S.C. § 78n(a) and 17 C.F.R. §§ 240.14a-3]
                                          (Balciunas)
26
            78.    The SEC realleges and incorporates by reference paragraphs 1 through 71
27
     as through fully set forth herein.
28

                                             Complaint
        Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 17 of 19 Page ID #:17




 1         79.    As a result of the conduct alleged herein, Balciunas, directly or indirectly,
 2   by use of mails, or the means or instrumentalities of interstate commerce or any facility
 3   of a national securities exchange, solicited proxies without furnishing each person
 4   solicited a proxy statement containing the information specified by the proxy rules.
 5         80.    By reason of the foregoing, Balciunas violated and, unless restrained and
 6   enjoined, will again violate Section 14(a) of the Exchange Act [15 U.S.C. § 78n(a)] and
 7   Rule 14a-3 thereunder [17 C.F.R. § 240.14a-3].
 8                                       FOURTH CLAIM
 9   Aiding and Abetting Canoo’s Violations of Section 13(a) of the Exchange Act and
     Rules 12b-20, 13a-1, and 13a-11 Thereunder [15 U.S.C. § 78m(a) and 17 C.F.R. §§
10
                           240.12b-20, 240.13a-1, and 240.13a-11]
11                                        (Kranz)
12         81.    The SEC realleges and incorporates by reference paragraphs 1 through 71
13   as though fully set forth herein.
14         82.    Canoo, which is an issuer of securities registered pursuant to Section 12 of
15   the Exchange Act, filed materially false and misleading annual and current reports with
16   the SEC in violation of Section 13(a) of the Exchange Act and Rules 12b-20, 13a-1, and
17   13a-11 thereunder.
18         83.    As a result of the conduct alleged herein, Kranz aided and abetted Canoo’s
19   violations of Section 13(a) of the Exchange Act and Rules 12b-20, 13a-1, and 13a-11
20   thereunder by knowingly or recklessly providing substantial assistance to Canoo.
21         84.    By reason of the foregoing, Kranz, directly or indirectly, aided and abetted
22   and, unless restrained and enjoined, will again aid and abet violations of Section 13(a)
23   of the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20, 13a-1, and 13a-11
24   thereunder [17 C.F.R. §§ 240.12b-20, 240.13a-1, and 240.13a-11].
25
26
27
28

                                            Complaint
        Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 18 of 19 Page ID #:18




 1                                        FIFTH CLAIM
 2   Aiding and Abetting Canoo’s Violations of Section 13(a) of the Exchange Act and
         Rule 13a-11 Thereunder [15 U.S.C. § 78m(a) and 17 C.F.R. § 240.13a-11]
 3
                                      (Balciunas)
 4
           85.     The SEC realleges and incorporates by reference paragraphs 1 through 71
 5
     as though fully set forth herein.
 6
           86.     Canoo, which is an issuer of securities registered pursuant to Section 12 of
 7
     the Exchange Act, filed materially false and misleading annual and current reports with
 8
     the SEC in in violation of Section 13(a) of the Exchange Act and Rule and 13a-11
 9
     thereunder.
10
           87.     As a result of the conduct alleged herein, Balciunas aided and abetted
11
     Canoo’s violations of Section 13(a) of the Exchange Act and Rule 13a-11 thereunder by
12
     knowingly or recklessly providing substantial assistance to Canoo.
13
           88.     By reason of the foregoing, Balciunas, directly or indirectly, aided and
14
     abetted and, unless restrained and enjoined, will again aid and abet violations of Section
15
     13(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rule 13a-11 thereunder [17 C.F.R.
16
     § 240.13a-11].
17
                                         RELIEF SOUGHT
18
           WHEREFORE, the SEC respectfully requests that this Court:
19
                                                  I.
20
           Find that the Defendants committed the violations alleged in this Complaint;
21
                                                  II.
22
           Enter an injunction, in a form consistent with Rule 65 of the Federal Rules of
23
     Civil Procedure, permanently restraining and enjoining each of the Defendants from
24
     violating, directly or indirectly, the laws and rules they are alleged to have violated in
25
     this Complaint;
26
                                                 III.
27
           Pursuant to Sections 21(d)(5) and 21(d)(7) of the Exchange Act [15 U.S.C.
28

                                             Complaint
        Case 2:23-cv-06332 Document 1 Filed 08/04/23 Page 19 of 19 Page ID #:19




 1   §§ 78u(d)(5) and 78u(d)(7)], order Defendant Balciunas to disgorge all ill-gotten gains,
 2   together with pre-judgment interest, derived from the activities set forth in this
 3   Complaint;
 4                                                IV.
 5         Order Kranz to pay civil money penalties pursuant to Section 20(d) of the
 6   Securities Act [15 U.S.C. § 77t(d)] and both Defendants to pay civil money penalties
 7   pursuant to Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)]; and
 8                                                V.
 9         Issue an order, pursuant to the Court’s equitable powers, barring Defendants from
10   acting as officers or directors of any issuer that has a class of securities registered
11   pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l] or that is required to file
12   reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)].
13                                                VI.
14         Grant such other and further relief as this Court may deem just and proper.
15                                        JURY DEMAND
16         The SEC demands a trial by jury on all claims so triable.
17
18   Respectfully submitted, August 4, 2023.
19
20                                   _s/ Charles E. Canter
                                     Charles Canter
21                                   Local Counsel
22
                                     Christopher E. Martin
23
24
                                     Attorneys for Plaintiff
25                                   Securities and Exchange Commission
26
27
28

                                              Complaint
